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In the Matter of the Arbitration Between

GREATER LYNN SENIOR SERVICES
Grievances:
-and- Grace Period
Unauthorized Vehicles
TEAMSTERS LOCAL UNION NO. 42

 

Arbitrator: James M. Litton, Esq.

 

Appearances:
Nathan L. Kaitz, Esq. - for Greater Lynn Senior Services
Gabriel O. Dumont, Esq. - for Teamsters Local Union No. 42
OPINION AND AWARD
Issues:

Greater Lynn Senior Services (GLSS or Employer) and
Teamsters Local Union No. 42 (Union) were unable to stipulate to
the issues to be determined in this case. GLSS proposed the

following:

l. Did the .Agency' violate the collective
bargaining agreement on or about June 10,
2015, when it nmdified the 10-minute grace
period for a late arrival at work without
bargaining with the Union? If so what shall
be the remedy, if any?

2. Did the Agency' Violate the collective
bargaining agreement on or about February 9,
2016 when it changed the penalty for
unauthorized use of vehicles without
bargaining with the Union?

The Union proposed the following:

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l. Absent bargaining to resolution with the
Union regarding a change in Article 15 of
the current collective bargaining agreement
and/or in. the Rule Book, did the Employer
violate Article 15 (Discipline and
Discharge) when it discharged employees for
a 1st offense ”Unauthorized use of GLSS
vehicle?

 

2. Absent bargaining to resolution with the
Union regarding a change in Article 15 of
the current collective bargaining agreement
and/or in the Rule Book, did the Employer
violate Article 15 (Discipline and
Discharge) when it disciplined employees
based on the reduced 5-minute grace period?
If yes, what shall the remedy be? (all
emphasis above added)

In light of their inability to stipulate to the phrasing of
the issues to be determined in this case, the parties authorized
the undersigned to phrase the issues. In accordance with that
authorization, I select the issues as the Agency phrased them to
be the issues decided herein. I select the Agency's proposed
issues because they more closely' mirror the language of the
underlying grievances which are at issue here. Specifically,
the Union phrased its grievances in terms of unilateral change
rather than in terms of discipline. The Union referred to
discipline only with respect to the remedy it sought through the
grievance procedure. In one of its two grievances the Union
seeks reversal of discipline as a remedy for the Agency’s
imposition of alleged contractually violative unilateral change.
In the other it does not because the Agency assessed no

discipline pursuant to the new rule.

Relevant Contract Provisions:

Article 11
Management Rights

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A. Except as expressly restricted by a
specific provision of this Agreement, the
Agency retains all rights, powers, and
authority exercised or held by it prior to
the certification by the National Labor
Relations Board of the Union as the
collective bargaining agent of the employees
covered by this Agreement. (emphasis added)

B. Without limiting the generality of the
foregoing, these rights shall include, but
are not limited to, the exclusive right and
sole discretion to: direct and manage its
business; determine all business and
financial policies; determine all methods,
products and schedules of production;
install new machinery, methods, materials or
processes; change or eliminate existing
equipment, methods, materials or processes;
select and determine the number and
qualifications of employees required; direct
the work force; schedule and assign work or
shifts to specific employees or work to
specific equipment (i.e., vehicle or type of
vehicle); determine the starting and ending
time and the number of hours to be worked;
determine and change the methods of
operating its business; add or discontinue
processes or operations in whole or in part,
temporarily or permanently; hire, assign,
transfer and promote employees; lay off,
terminate or otherwise relieve employees
from duty for lack of work or other business
reasons; suspend, demote, discipline and
discharge employees for just cause;
determine and change at its sole discretion
the number of locations of its operations;
relocate its operations; to abide by
directives of contracting authorities,
regulatory authorities or funding sources as
to operations governed by such contracts or
funding; and adopt from time to time
reasonable rules and regulations for the
purposes of efficiency, safety and
discipline. (emphasis added)

C. The foregoing enumeration of specific
rights retained by the Agency is not

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intended to be a waiver of any rights of the
Agency not listed unless specifically
surrendered in this Agreement, Whether or
not such rights have been exercised by the
Agency in the past.

D. The management rights recited above are
not subject to the grievance and/or
arbitration procedure of this Agreement
unless in. the exercise of such rights the
Agency has violated a specific provision of
this Agreement.

Article 15
Discipline and Discharge

.A. The Agency may discipline or discharge
employees for just cause. Notice of any
such discipline shall be given to the
employee, as well as to the Union. (emphasis
added)

 

B. The possible forms of discipline may
range from a verbal or written warning, to
suspension, to discharge. Some offenses,
including, but not limited to, theft,
dishonesty, actual or threatened violence,
insubordination, deliberate damage to
property or equipment. Being in possession
of or under the influence of alcohol or
drugs, will, if proven, justify immediate
termination of employment, subject to the
just cause standard set forth in Section A.

A preventable motor vehicle accident,
involving an injury of any person, in which
negligence of the operator contributed to
the accident, will, if proven, justify
immediate termination of employment, subject
to the just cause standard set forth in
Section A.

Failure to tie down a wheelchair properly
which leads to any irregular wheelchair
movement, may, if proven, justify a thirty
(30) day suspension for a first offense. A
second offense, will, if proven, justify
immediate termination of employment, subject

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to the just cause standard set forth in
Section A.

As to other offenses, employees will
ordinarily be provided a warning and/or a
suspension prior to discharge unless the
severity or nature of the offense or other
factors are such that the Agency deems more
serious discipline to be appropriate.

C. If an employee is arrested or charged
with any criminal offense, the employee must
report the arrest or charge to Human
Resources and submit a police report or any
other documentation concerning the incident.
The report must occur within five (5)
business days of the incident. Based on the
facts of the charge or the arrest, an
employee may be suspended, without pay,
upending the outcome of their case if the
charges may be a liability to the Agency or
the Agency's clients.

Non-compliance or misrepresentation of the
above stated requirement may serve as
grounds for termination.

For employees hired after the date of the
signing of this agreement, suspensions
without pay, resulting out of the above
requirement, will in no case exceed twelve
(12) months. If an employee is unable to
return after the twelve (12) month period,
the employee’s employment with the Agency
will be terminated.

G. Progressive discipline for preventable
motor vehicle accidents will be as follows:

Operators may be subject to disciplinary
action, up to and including discharge, for
accidents which are deemed by the Agency to
be preventable.

The following is the process for
administering progressive discipline for

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preventable accidents occurring within a
fifteen (15) month rolling periods

° 1at Occurrence - Verbal Warning

° 2nd Occurrence - Written warning with a
minhmnn of one (l) hour of paid
retraining through an online defensive
driving program.

° 3rd Occurrence - 1-day suspension
without pay with a minimum of five (5)
hours paid retraining through DDC4.

° 4“‘ Occurrence - 3~day suspension and
final warning, two (2) suspension days
without pay, with the third day, the
employees attends eight (8) paid hours
of overall paratransit operator
retraining.

’ 5th Occurrence - Discharge.

Facts Presented:

GLSS and the Union are parties to a collective bargaining
agreement effective for the period January l, 2014 through
December 31, 2018 (Agreement). The .Agreement sets forth 'the
wages, hours, terms and conditions of employment of certain
employees of the Agency in a bargaining unit comprised of

drivers.

The Agreement is the third collective bargaining agreement
between the parties since the Union organized GLSS drivers in
2006.

1. Bargaining history

 

The parties’ first contract was effective for the period
June 1, 2006 through December 31, 2008. That contract contained

the following provision concerning progressive disciplines

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B. The possible forms of discipline may
range from an oral or written warning, to
suspension, to discharge. Some offenses,
including, but not limited to, theft,
dishonesty, actual or threatened violence,
insubordination, deliberate damage to
property or equipment, or being in
possession of or under the influence of
alcohol or drugs, will, if proven, justify
immediate termination of employment, subject
to the just cause standard set forth in
Section A. .As to other offenses employees
will ordinarily be provided a warning and/or
a suspension prior to discharge unless the
severity or nature of he offense or other
factors are such that the Agency deems more
serious discipline to be appropriate,
subject to the just cause standard set forth
in Section A.

It also contained the following in its Management Rights

provisions

... [t]hese rights shall include ... the
exclusive right to: ... abide by directives
of the Massachusetts Bay Transportation
Authority and/or other contracting
authorities or funding sources as to
operations governed by such contracts or
funding; ... .

The parties’ second collective bargaining agreement was
effective for the period January 1, 2009 through December 31,
2013. That contract maintained the progressive discipline

provision from its predecessor contract and added the following

language in a new paragraph C:

Discipline for no call/no show shall be on
the following schedules First offenses one
day suspension (to be served on date of no
call/no show), Second offenses Three day
suspension; Third offenses termination.

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The parties’ third collective bargaining agreement is the
Agreement under which the grievances at issue in this case
arose. The Agreement includes changes to Article 15.
Specifically, it includes language regarding discipline for
certain preventable accidents, language which specifies a
disciplinary progression for failure to properly tie down
wheelchairs, language calling for suspension for certain

criminal charges or arrests.
2. Prior arbitration awards

The Union introduced three arbitration cases into evidence.
Each of the decisions involved the discharge of a GLSS driver
for a single failure to tie down a wheelchair with a so-called
”bunny belt" or ”body belt.” Each case is summarized as

follows:

a. Arbitrator Philip Dunn award

The grievance which is the subject of the award arose under
the first collective bargaining agreement between the parties.
In his decision Dunn found that GLSS did not have just cause to
summarily discharge the grievant. In that case GLSS argued that
Article ll allowed it to exercise ”the exclusive right and sole
discretion to: abide by directives of the MBTA ..." and that it
could, therefore, override progressive discipline language as it
is set forth in Article 15. Dunn disagreed. He wrote the

following:

First, Article 11, Management Rights” starts
out with the explicit, limiting language,
”Except as expressly restricted by a
specific provision of this Agreement
(emphasis added), the Agency retains all
rights, powers, and authority ... held by it

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prior to the certification by the NLRB ...”
Then, in Article 15, the parties expressly
and specifically agree ”The Agency may
discipline or discharge for just cause”
(emphasis added) ... Quite simply, the
explicit ”just cause” limitation in Article
15 constitutes ”a specific provision of this
Agreement which expressly restricts the
management rights which are listed in
Article ll. Thus, the just cause language
in Article 15 places a limitation upon the
Article ll, listed management right of GLSS
”to ... abide by' directives of the MBTA,”
not the other way around."

Thus, Dunn, found as follows:

... the traditional just cause analysis is
required in this case, including within it
due consideration of progressive discipline
which is a well-established, core component
of the just cause concept in labor
relations.

b. Arbitrator Michael Ryan award

The grievance in this case also involved the summary
discharge of a driver for failure to use a body belt on a
client’s wheelchair. Ryan agreed with Dunn about the
relationship between the Management Rights provision and the
Discipline and Discharge provision of the Agreement. Ryan wrote
that

... [t]he just cause language of Article 15
is a ”specific provision of th[e] Agreement"
that limits the Imanagement rights language
of Article ll.

Ryan also wrote the followings

Initially, it must be stated that the
Agency's repeated statement to the drivers
that failure to use the bunny belt would

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result in termination does not establish the
appropriateness of a summary discharge. The
Agency and the Union have negotiated a just
cause clause, which impedes that Agency from
unilaterally setting penalties for
disciplinary offenses as it sees fit. The
parties took some trouble to address the
possible range of penalties in Article
lS(B). The Agency cannot overcome a
negotiated just-cause provision, and
particularly one that expressly contemplates
progressive discipline for this type of
misconduct, with a ludlaterally promulgated
disciplinary rule.

As did Dunn, Ryan found the discharge of the grievant to have

been in violation of Article 15.

c. Arbitrator Richard Boulanger award

 

Again, the grievance in this case focused on the summary
discharge of a driver who failed to use a bunny belt. It argues
that ”Boulanger rejected the Employer’s argument" that it had
the unilateral right to change disciplinary penalties as set out

in its Rule Book and in Article 15 of the Agreement as follows:

The Rule Book Disciplinary Grid is compliant
with the Article 15(B) progressive
disciplinary scheme and it is not challenged
by the Union. However, while the body belt
rule itself is a reasonable one pursuant to
the management rights article, the
termination penalty for its first violation
is not reasonable in view of Article 15(B)
dictates and those of the Rule Book.
Immediate termination of employment for a
first offense rule’s violation lwithout the
benefit of progressive discipline has
drastic consequences for the discharged
employee. In the instant case, unless the
body belt violation is included in article
15(B) immediate terminable offenses per
agreement of the parties, there is no reason
for its exclusion from Article 15(B) and

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Rule Book progressive disciplinary formula
which includes safety violation categories.
Therefore, the summary discharge penalty for
a first body belt violation cannot stand.
Discipline for violation of body belt rules
shall be in accord with the Rule Book’s
Disciplinary Grid for safety violations
compliant with the Article 15(B) just cause
progressive discipline formula.

Boulanger found the discharge of the grievant to have been in

violation of the Agreement.

3. Alleged unilateral changes

a. Tardiness grace period

 

In June 2015 the Agency's Rule Book included a ”Lateness"
provision which referred the reader's attention to the Agency’s
Handbook. Sec. 1.3(e) of the Handbook includes the following

with respect to ”attendance’s

Employees are expected to be on time.
Continued lateness will not be tolerated and
will result in disciplinary action. If you
are unavoidably detained, call the
dispatcher immediately.

Two occurrences of lateness during any
thirty (30) day period of more than ten (10)
minutes is considered excessive. A first
offense will result in a verbal warning. A
second offense in a twelve-month period will
result in a written warning. A third
offense in a twelve month-period will result
in a three-day suspension. A fourth offense
is a twelve-month period will result in
discharge.

On June 17, 2015 GLSS Director of Transportation, Steven
Epps, sent all employees the following memorandum regarding

”time clock rules and procedures":

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Every hourly Employee is required to have an
accurate account of hours worked by
”punching in" and ”punching out” for their
assigned work. The purpose of this
Memorandum is to clarify the current Time
Clock Rules and Procedures of GLSS and
minimize any oversights and abuses within
the agency.

This is being brought forth to raise
awareness that tardiness leads to late pull
outs, which further leads to late trips and
fines incurred by the agency. This also
creates an additional burden on the driver
work force, but also affects all of the
other departments as well.

PUNCHING IN

° Employees are required to ”punch in" on
time for work at their scheduled start
time.

' Punching in for work ANYTIME after your
scheduled start time is considered
being ”TARDY”.

° Punching in for work TEN (10) MINUTES
or MORE after your scheduled start time
is known as an ”EXCESSIVE TARDY”.

° Unless you have permission to do
otherwise, you may not ”punch in" for
work more than five (5) ndnutes prior
to your scheduled start time.

Violations of these procedures may result in
disciplinary action up to and including
termination. ...

The distribution of the immediately above memorandum resulted in

the Union's first ULP charge dated June 23, 2015.

On November 7, 2016 GLSS sent an e-mail to the Union which
notified it of a ”new time and attendance and payroll system

(called Payright) we anticipate ‘going live’ within all of GLSS

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on Saturday, December 24, 2016." That memorandum explained
?ayright in some detail, and it included the following

description of its “minute for minute” timekeeping:

Unlike GLSS' current time and attendance
system, our new time and attendance system
records time on a ndnute for ndnute basis.
There will no longer be ”rounding” of time
to the nearest quarter hour as of December
24, 2016, with the new Payright System.

Employees who are required to punch a time
clock to record their work hours are allowed
a five (5) ndnute grace period before the
scheduled start time, however, will be coded
as an “in early” infraction and
automatically be flagged by the system.
Similarly, said employees are allowed a five
(5) minute grace period after the scheduled
start time of their shift. Any time punch
that is more than five (5) minutes after the
employees' scheduled start time (beginning
with six (6) minutes), will be coded as an
”in late” infraction and automatically be
flagged by the system.

b. Unauthorized use of GLSS vehicle

GLSS has long had a rule against unauthorized use of its
vehicles for personal use. For example, its 1995 Rule Book had
a three-step progression of discipline for such an offenses
written warning for a first offense, 3-day suspension for a
second offense, and discharge for a third offense. The 2007
Rule Book collapsed the disciplinary progression to two steps:
3-day suspension for a first offense and discharge for a second

offense.

The Agency has repeatedly informed its drivers of the rule

against unauthorized use of a GLSS or MBTA vehicle. For

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example, on December 15, 2010 the Agency sent the following

memorandum to its drivers:

we have received a directive from the MBTA

According to our contract drivers are not
allowed to use vehicles to go to their
homes. It is considered unauthorized use of
a company vehicle.

We can be fined and or they can actually
terminate our contract for this infraction.

Please be advised that effective
immediately, you cannot use our vehicles to
go to your homes or do personal business or
errands. The MBTA has access to our records
and all the information on all employees
that work for them or are under contract to
them. (emphasis original)

Failure to comply may result in disciplinary
action up to and including termination.

On July 7, 2015 the Agency issued the following memorandum
regarding ”the unauthorized use of GLSS owned and MBTA vehicles”

to its drivers:

Please be advised that drivers cannot use
agency vehicles to go to their homes,
conduct personal business or run errands at
any time ... Failure to comply with this
directive may result in disciplinary action
up to and including termination.

On January 6, 2016 GLSS posted the following notices

YOU ARE NEVER ALLOWED TO TAKE A COMPANY OR
MBTA OWNED VEHICLE HOME FOR ANY REASON ANY
TIME !!!!!

GLSS acknowledges that ”in or about January 2016 [it]

eliminated the progressive discipline policy for unauthorized

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use of a company vehicle and implemented a policy of immediate

termination for the unauthorized use of a company vehicle."

Genesis of the grievances

 

On June 23, 2015 the Union filed with the National Labor
Relations Board (NLRB) an unfair labor practice (ULP) charge
against GLSS in Case No. Ol-CA-154720. The charge alleged a
violation of Sec.8(a)(1) and (5) of the National Labor Relations
Act (Act or NLRA). The basis of the charge was as follows:

The Agency notified the Union. on June 10,
2015, that they were unilaterally changing a
time clock policy which has discipline
attached which is a mandatory subject of
bargaining. The Union demanded bargaining
on June 11, 2015 in an e-mail to Marie
Castineyra, the Labor Relations Manager.
The Company implemented the policy' without
bargaining. By this unilateral
implementation, the Company is violating the
NRA. The Union demands bargaining on this
change and that all conditions be put back
to pre-change conditions.

On March 3, 2016 the Union filed with the NLRB a second ULP
charge against GLSS in Case No. 01-CA-172264. Again, the charge
alleged a violation of Sec. 8(a)(l) and (5) of the Act. The

basis of the second charge was as follows:

The Union was notified on 2/9/2016, that the
Employer was unilaterally changing the
negotiated rule book policy on uses of
vehicle - penalty change. The Union
demanded bargaining over this change. The
Employer refused to bargain and implemented
the rule change. By this unilateral
implementation, the Company is violating the
NLRA. The Union demands bargaining on this
change and that all conditions be put back
to pre-change conditions and that any
employees affected by this change be

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returned to work with all back pay and
benefits.

On July 5, 2016 and on July 26, 2016 the NLRB
administratively deferred, respectively, the two then-pending
charges to be processed pursuant to the grievance and

arbitration provision of the Agreement.

Subsequent to the NLRB's deferral notice to the parties,
the Union filed a grievance in each case. On November 18, 2016

the Union filed the following grievances

On June 10, 2015, GLSS announced a
unilateral implementation of a substantial
change to the Attendance Policy that has
been in place since 1995 which eliminated
the lO-minute grace period for a late
arrival to work.

The Union demanded bargaining over this
change. GLSS refused to bargain this
mandatory subject of bargaining.

The Union contends a violation of the NLRA
and any relevant provisions of the CBA and
past practice.

The Union seeks to have the rule put back to
pre-change conditions, all discipline
assessed under this new rule since 2015 be
removed and the Company bargain over the
unilateral change to the Rule Book.

On November 21, 2016 the Union filed a second grievance as

followss

On February 9, 2016, GLSS informed the Union
that it was unilaterally changing the
negotiated rule book policy on uses of
vehicle - penalty change.

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The Union demanded bargaining over this
change. GLSS refused to bargain this
mandatory subject of bargaining.

The Union contends a violation of the NLRA
and any relevant provisions of the CBA and
the Rule Book and past practice.

The Union seeks to have the rule put back to
pre-change conditions, all discipline
assessed under this new rule since 2/9/2016
be removed and the Company bargain over the
unilateral change to the Rule Book.

These two grievances result in this arbitration.

Opinions

Position of the Union

 

The position of the Union is that ”the Agency violated the
collective bargaining agreement when it unilaterally eliminated
progressive discipline for a violation of the unauthorized use
of GLSS vehicle” and that ”it violated the collective bargaining
agreement further when it unilaterally reduced the tardy grace

period from a 10-minute period to a 5-minute period.”

l. Unauthorized use of GLSS vehicle

 

The Union argues that ”quite literally, this dispute
represents the Employer’s fourth bite at the proverbial 'apple,'
except, in this instance, the Employer’s argument is based on
even weaker facts than the facts involved in the matters before
Arbitrators Dunn, Ryan, and Boulanger.” First, the Union argues
that ”in all three cases, the Employer pointed to and relied
upon written directives to its employees that expressly advised
them that they would be terminated for a single violation of the

body belt directive." It argues that ”in contrast, in the

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instant case, of the four memos introduced by the Employer, one
memo does not refer to any disciplinary consequences for taking
a Company or MBTA owned vehicle home while the remaining three
memos warn the drivers of 'disciplinary action up to and

including termination'.”

Second, the Union argues that ”unlike in the three prior
arbitrations, there is no evidence that the MBTA was directing
that drivers who took their vehicles home or who used the

vehicle for any other personal use, be terminated.”

Third, the Union argues that ”in the previous arbitrations,
the Arbitrators considered and relied on the progressive
discipline that was attached in the Rule Book to safety-
specific, but more general violations, found in the Rule Book.”
It argues that ”in the instant case, the Rule Book contains a 3-
step progressive discipline for the very specific violation of
'Unauthorized use of GLSS vehicle’. It argues that ”accordingly,
the reasoning of Ambitrators Dunn, Ryan, and Boulanger should

apply with even greater force to the instant facts."
2. Reduction of the grace period

The Union argues that ”from at least 1995 until the action
giving rise to this dispute, the Employer, as part of the Rule
Book, had a disciplinary rule concerning 'Lateness,’ which is
Sec. b. of the Nature of Actions violation category
lUnauthorized Absences'.” It further argues that ”the Lateness
rule refers the reader to 'Handbook Section l.3e for more
information'.” It argues that ”Sec. l.3e has remained unchanged

since 1995" and includes the followings

Two occurrences of lateness during any
thirty (30) day period of more than ten (10)

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minutes is considered excessive. .A first
offense will result in a verbal warning. A
second offense in a twelve-month period will
result in a written warning. A third
offense in a twelve-month period will result
in a three-day suspension. A fourth offense
in a twelve-month period will result in
discharge.

The Union argues that ”the Employer, without bargaining
with the Union, first modified the Lateness violation such that
punching in to work any time after an employee’s scheduled start
time was considered a ‘Tardy' and, according to the Employer’s
June 17, 2015 posting, violations of the new 'Tardy' policy
could 'result in disciplinary action up to and including
termination'.” The Union argues that ”this action by the
Employer resulted in the Union filing an unfair labor practice
charge with the NLRB that, in turn, resulted in the NLRB issuing
a Complaint and Notice of Hearing." It further argues that ”the
issues raised by that Complaint were deferred to arbitration by
an Order dated October 5, 2016. It argues that ”in that Order,
the Regional Director stated that 'the change in the tardiness
policy and practices, and the failure to bargain over that
change, as generally alleged in the charge, is encompassed by

the terms of the collective bargaining agreement.

The Union also argues that ”the Employer, again. without
bargaining with the Union, in or about November 3, 2016,
subsequently' modified the 'Tardy' policy' to provide for a 5-
minute grace period before the employee was 'flagged by the
system’ as 'in late'." It argues that ”subsequently, in a
posting dated December 15, 2016, the Employer stated that
'employees who are required to punch a time clock to record
their work hours are expected to be 'punched in' by the
scheduled start time of the shift ... any time punch that is

more than five (5) minutes after the employees' schedule start

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time, will be coded as an 'in late' infraction, is automatically
flagged by the system and could be subject to discipline’.” The
Union argues that ”while the posting introduced the possibility
of discipline for late time clock punches, the notice that was
subsequently attached to the employees' paychecks did not refer

to the possibility of discipline.”

The Union further argues that ”prior to the Employer’s
unilateral implementation of the 5-minute grace period, the
Employer and the Union had negotiated attendance policies
including the introduction of the 'no call/no show' disciplinary
policy negotiated into Article 15 of the 2009-2013 collective
bargaining agreement.” It further argues that ”in addition,
more recently, the parties modified Article 15 in the 2014-2018
collective bargaining agreement by adding a 'preventable motor
vehicle accident, involving an injury of any person, in which
negligence of the operator contributed to the accident' as a
cardinal offense for which an employee would be subject to
immediate terminations a 2-step discipline progression ... for
'a failure to tie down a wheelchair properly which leads to any
irregular' wheelchair' movement;’ an immediate suspension of an
'employee is arrested or charged with any criminal offense ...
pending the outcome of their case if the charges may be a
liability to the Agency or the Agency’s clients;’ and a 5-step
'progressive discipline for preventable accidents occurring
within a fifteen (15) month rolling period’.” It argues that,
“most recently, the Union and the Employer, in August 2016,
negotiated a 'merger' of the discipline charts contained in the
1995 and 2007 Rule Books, and, as part of that process, agreed
that six of the disciplinary rules would no longer be in force

and effect and would be removed from the Rule Book.”

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The Union rejects GLSS' argument that the Management Rights
provision of the Agreement ”allows it to adopt the 5-minute
grace period, disciplinary rule without bargaining with the
Union.” Specifically, the Union argues that the provision which
states that management rights shall include ”the exclusive right
and sole discretion tos ... adopt from time to time reasonable
rules and regulations for the purposes of efficiency, safety,
and discipline" does not refer to ”attendance or tardiness and
even the reference in Article 11 to GLSS' right and sole
discretion to adopt 'rules and regulations’ is ambiguous and
constrained as those rules must be 'reasonable' and must be
adopted only 'for the purposes of efficiency, safety, and

discipline’.”
Finally, the Union argues that

”in light of Article 11’s general language,
the inclusion in Article ll of express
restrictions on GLSS' right to adopt rules
and regulations, the parties’ bargaining
history concerning disciplinary rules
including specific changes to the Rule Book,
lad the presence in the parties’ collective
bargaining agreement of an extensive and
separate Discharge and Discipline article,
it is clear that GLSS' argument which is
based solely on the language of the
Management Rights clause, that Local 42
waived its right to bargain over the
elimination of the lO-minute grace period
when it entered into the current collective
bargaining agreement is not well-grounded.

Position of GLSS

1. Reduction of the grace period

The position of GLSS is that it ”did not violate the

Agreement when it modified the lO-minute grace period for a late

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arrival to work without bargaining with the Union.” GLSS argues
that ”it has bargained over its right to make changes to its
Rule Book.” Specifically, it argues that ”Article 11 of the
collective bargaining agreement grants the Agency the right to
direct and manage the business, as well as, more particularly,
the right to 'adopt from time to time reasonable rules and
regulations for the purposes of efficiency, safety and
discipline’.” It argues that ”clearly, the modification of the
lO-minute grace period for late arrival to work is a rule and/or
regulation for purposes of efficiency." It argues that
”employees who arrive to work late create efficiency problems
for the Agency as those employees can then be late for picking
up their first passengers (and potentially remain late for the
remainder of the day).” It argues that ”employees who are late
for picking up and/or dropping off passengers can result in
fines to the Agency from the MBTA.” It argues that ”in fact,
that was becoming more and more the case and more and more of a
problem for this Agency when it nmdified the lO-minute grace

period in June 2015.”

The Agency argues that both ”arbitral precedent" and “NLRB
precedent" support its ”right to unilaterally modify its

tardiness policy.”

The Agency further argues that the arbitration awards which
the Union cites do not require ”a finding that the Union did not
waive its right to bargain over changes to the attendance
policy.” First, GLSS argues that ”all three awards concerned
the just cause provision of Article 15 of the Agreement." It
argues that ”Article 15 is not at issue herein and need not be
considered to determine whether or not the Agency had the
unilateral right to modify its attendance policy by nmdifying

the lO-minute grace period for late arrival to work." Second,

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GLSS argues that all three awards concerned the termination of
an employee for a single violation of the body or bunny belt
rule, a safety rule." It notes, however, that ”the 1995 (2007)
Rule Book only listed, for the' most part, general safety-
specific violations, and the Rule Book did not mention body belt
omissions at all.” It argues that ”for this reason Arbitrator
Dunn held itv was arbitrary and capricious for the .Agency to
single out the body belt omission as providing grounds for
summary termination.” Third, it argues that ”the focus of the
three awards was whether or not the MBTA had issued a directive
requiring the Agency to terminate employees for a single body
belt offense, and the arbitrators, particularly Arbitrators Dunn
and Ryan, concluded that the MBTA directives on body belts did

not require summary termination for a single offense."

GLSS also argues that ”any Union reliance on these
arbitration awards raises the fundamental question of what the
management rights language means if it doesn't permit the Agency
to unilaterally modify its attendance policy." It argues that
the language in Article ll which ”specifically grants the Agency
'the right to adopt fronl time to time reasonable rules and
regulations for purposes of efficiency, safety and discipline”
would ”have no meaning, significance, or consequence if the
Agency couldn't modify its attendance policy without first

bargaining with the Union.”

The Agency argues that ”it must be noted that the Union has
never argued that it was unreasonable for the Agency to modify
the lO-minute grace period for late arrival to work.” The
Agency argues that ”indeed, these late arrivals, even if less
than 10 minutes, as well as those in excess of 10 minutes, were

resulting in fines from the MBTA.” It argues that ”there was

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and is nothing unreasonable in the desire to eliminate one of

the causes of MBTA fines.”

GLSS also argues that ”the changes negotiated in Article 15
do not constitute a waiver of the Agency's right to unilaterally
modify its attendance policy." Although the Agency acknowledges
that it ”negotiated ... changes into Article 15” which ”involve
rules which the Agency may have attempted to unilaterally
promulgate,” it does not concede that it has waived its
contractual right to adopt ”from time to time” certain rules and
regulations. It argues that ”there are nmny reasons why the
Agency may want to negotiate changes to Article 15 without
unilaterally modifying its Rule Book or attendance policy." It
agrees that ”it is sound practice to negotiate changes to the
work rules during the open period of the contract when it is in
negotiations for a new agreement.” It argues, however, that
”this sound practice is of no comfort to the Agency when it is
being issued many fines by the MBTA caused by late pick-ups in
April and May of 2015, more than 3% years before the contract
expires." It also rejects any argument that ”the mere failure
of the Agency to exercise its right [to make certain unilateral
changes to its rules or regulations] in a few circumstances does

not waive its right to do so in the future.”

Finally, the Agency argues that ”in December 2016 the
Agency and the Union agreed to a 5-minute grace period for late
arrival at work.” Specifically, it argues that ”on November 3,
2016 Marie Casteneyra e-mailed Bruce Bolduc about the new time
and attendance and payroll system soon to be implemented by the
Agency.” It argues that ”the notice to the Union attached to
the e-mail included, among many other things, the proposed 5-
minute grace period for late arrival at work.” It argues that

”the parties met on November 22, 2016 to discuss the new system

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and proposed changes occasioned by it.” It argues that Bolduc
approved the notice to employees which included notification of
the 5-minute grace period for an employee’s late arrival to
work.” The Agency argues that ”since the parties have reached
an agreement on this 5-minute grace period, it would be
inappropriate for the Arbitrator to issue a remedy reinstating
the lO-minute grace period even if the Arbitrator believed the
Agency somehow violated the Agreement in June of 2015 by

unilaterally modifying the lO-minute grace period."

2. Unauthorized use of GLSS vehicle

The position of the Agency is -- as it is with respect to
the alleged modification of the grace period -- that it ”did
bargain with the Union for the right to adopt from time to time
reasonable rules and regulations for the purposes of efficiency,

safety and discipline.”

GLSS argues that its ”unauthorized use of vehicle policy,
including termination for a first offense, is a reasonable rule
for efficiency and discipline.” It argues that it ”has never
heard any suggestion that there is anything unreasonable about
prohibiting drivers front using vehicles to go home or run a

personal errand.”

The Agency further argues that ”there is nothing
unreasonable about terminating drivers for even a first offense
of unauthorized use of an Agency vehicle." First, it argues
that ”any such use is a knowing and intentional act." It argues
that such use ”is a completely different act than the body belt
offenses committed in the arbitration awards introduced by the
Union.” It argues that ”in two of those cases, the Dunn and

Ryan awards, the driver had simply forgotten to use or bring the

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body belt with him." In the Boulanger case, the grievant failed
to use a body belt because the passenger was not wheelchair-
bound when he entered or exited the van and she did not want to
abandon him by returning to the van to retrieve a body belt.”
GLSS argues that ”while these acts may have been negligent acts,
they certainly were not purposeful or intentional acts in
defiance of Agency rules." Second, it argues that ”the Agency
has put all drivers on notice many times in mandatory trainings
and through workplace postings that taking an Agency or MBTA
vehicle home or driving it for personal use is unacceptable and
could result in discipline up to and including termination.”
Thus, it argues that ”any driver committing such an offense is
knowingly engaging in conduct in violation of Agency rules and
knowingly engaging in conduct that subjects the driver to
serious consequences." GLSS also argues that ”the Union has
never alleged that the unauthorized use of vehicle policy,
including discharge for a first offense, is an unreasonable rule
and regulation.” Rather, it argues that it has ”maintained that
the agency must bargain about the rule or, at a ndnimum, the

penalties for violation of the rule."

The .Agency also argues that ”the change of penalty for
unauthorized use of vehicle is consistent with the directive of
the MBTA." It also argues that ”the Agency bargained ford the
right to follow directives of its contracting authorities,
including the MBTA." It further argues that ”on January 6,
2016, the MBTA made clear to the Agency that it was necessary
for the agency to terminate any driver who took an MBTA vehicle

home."

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Discussion

1. Grace period

I conclude that lthe Agency' violated lthe Agreement on or
about June 10, 2015, when it modified the lO-minute grace period
for a late arrival at work without bargaining with the Union.
Article 11 of the Agreement reserves certain rights to GLSS
including the right to ”adopt from time to time reasonable rules
and regulations for the purposes of efficiency, safety and
discipline.” This contractual reservation of rights, however,
is not absolute. Specifically, the first sentence of the first
paragraph of Article 11 states that ”except as expressly
restricted by as specific provision of this Agreement” certain
rights are reserved for GLSS. I conclude that the language in
Article 15 of the Agreement that ”[t]he Agency may discipline or
discharge employees for just cause” expressly restricts the

Agency's reserved rights language.

In this case the Agency acknowledges that it unilaterally
shortened the ”grace period” within which bargaining unit
members’ late arrivals at work would not be subject to
discipline from 10 minutes to five minutes. The disciplinary
just cause standard which the parties have set forth in Article
15 of the Agreement, however, is a particular express
restriction on the Article ll more general reservation of the
rights which the parties established in Article ll. Thus, this
language precludes the unilateral modification which GLSS
attempted to establish in this case. Any discipline resulting
from such a unilateral change must remain subject to the
parties’ negotiated just cause standard as set forth in Article
15.

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2. Unauthorized use of vehicles

The analysis applied to grace periods in the immediately
above section applies equally to the Agency’s unilateral
imposition of summary discharge (in lieu of a just cause
analysis of appropriate discipline) for unauthorized use of a
GLSS or MBTA vehicle. The unilateral modification of penalty
for unauthorized use of vehicles may bump up against the just
cause provision which the parties have set forth in Article 15.
To paraphrase Arbitrator Dunn’s language in his 2008 arbitration

decisions

Quite simply, the explicit ”just cause”
limitation in Article 15 constitutes ”a
specific provision of this Agreement" which
expressly restricts the management rights
which are listed in Amticle 11. Thus the
just cause language in Article 15 places a
limitation upon the Article 11 listed
management right of GLSS ”to adopt from time
to time reasonable rules and regulations for
the purposes of efficiency, safety and
discipline.”

Remedy:

1. Grace period

An appropriate remedy is to reverse the Agency's unilateral
imposition of the five-minute grace period for tardiness and

restore the status quo ante of a lO-minute grace period.

By shrinking the ten-minute grace period to a five-minute
grace period in this case GLSS unilaterally imposed the
possibility of discipline where no such possibility existed
before (e.g.; tardiness of, say, seven minutes). Thus, I agree

with the Union that any discipline which the Agency imposed for

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a five to 10 minutes' tardiness as a result of its unilateral
change of a ten-minute grace period to a five-minute grace

period must be rescinded.

GLSS argues that at some point the parties agreed to adopt
a five-minute grace period for tardiness. To the extent to
which the parties entered into such an agreement, the date of
such agreement shall act as an endpoint of discipline rescission

as described above.

2. Unauthorized use of GLSS vehicles

 

As is the case with the grace period issue, an appropriate
remedy is to reverse the agency’s unilateral imposition of
summary discharge for the unauthorized use of as GLSS or MBTA
vehicle. Because there is no evidence of the Agency having
issued any discipline pursuant to its unilaterally issued

summary discharge policy, there is no discipline to analyze.

Awards

1. The Agency violated the collective bargaining agreement
on or about June 10, 2015, when it modified the lO-minute grace
period for a late arrival at work without bargaining with the

Union.

2. The Agency violated the collective bargaining agreement
on or about February 9, 2016 when it changed the penalty for

unauthorized use of vehicles without bargaining with the Union.

3. The Agency shall immediately rescind any discipline
which it may have issued to bargaining unit members who arrived
at work during the period between five minutes after their shift

starts and 10 minutes after their shift starts, retroactive to

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the time of the unilateral imposition of the five-minute grace
period and prospective to the time of any agreement between the

parties with respect to a five-minute grace period.

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am M. Litton
Ari itrator

Dateds April 6, 2018

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